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EXHIBIT 7 - Judge Engelmayer explains his friendship with Biale and AUSA Graham

THE COURT: All right. Very good.
All right. The next preliminary matter that I need to take up involves a
disclosure I need to make that is occasioned by the appearance of Mr. Biale as
new counsel for Mr. Teman.
And the disclosure is that I am acquainted with Mr. Biale.
Mr. Biale's wife, Margaret Graham, worked for a summer at the law firm at which
I used to work, and we worked together closely on a criminal appeal. Ms. Graham
and I have kept in touch over the years, and we have had lunch or coffee several
times since she joined the U.S. Attorney's Office for the Southern District of
New York.
Through Ms. Graham I have gotten to know Mr. Biale.
I recall spending an hour or so alone in my chambers with Mr. Biale several years
ago discussing his professional options before he joined the Sher Tremonte firm.
I have also personally appointed Mr. Biale and the Sher Tremonte firm to
represent a pro se plaintiff in a case before me in which the plaintiff sued
his lawyer from an earlier matter for allegedly misappropriating a $100,000
retainer. Mr. Biale did an absolutely superb job in that case.
I think very highly of Mr. Biale, and regard myself as something of a mentor of
his and also as a friend.
In the interest of full disclosure, I must also put on the record the sad fact
that I attended shiva at Mr. Biale's apartment in Brooklyn in the summer of
2019. And most recently, about six weeks ago, on October 10th, I was a recipient
of a group email that Mr. Biale sent to friends and family announcing the joyous
news of the arrival of a new son, [REDACTED NAME OF MINOR] Biale; and for
which, Mr. Biale, a huge mazel tov to you and Ms. Graham from the Court.
All that said, I have absolutely no doubt that notwithstanding that I am
acquainted with Mr. Biale in the various ways that I have reviewed, these will
not in any way, shape, or form compromise my ability to preside over this case
dispassionately and neutrally and with fairness to all.
Nevertheless, I did need to make this disclosure, as I do in all cases where
I've had a friendship with counsel.
Mr. Biale, did you disclose to the government the sum and substance of the
facts that I've just reviewed?
MR. BIALE: Your Honor, in candor, I did not. But I appreciate that your Honor
has now put that on the record, and I appreciate what you said.
THE COURT: All right.
Mr. Bhatia, regardless, you are now on notice of the information that I have
just reported to you. I trust that the government does not have any issue with
regard to the Court's continuing to preside over this case.
MR. BHATIA: No issue whatsoever.
THE COURT: All right.
And Mr. Biale, just in the interest of full disclosure, did you disclose to
your client the fact that you and I are acquainted in the ways that I've just
reviewed?
MR. BIALE: Yes, your Honor.
THE COURT: All right.
